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                                                                                                                                         FILED
     ~AO 2458 (CASD) (Rev. 4114)    Judgment in a Criminal Case
                Sheet 1                                                                                                                   AUG 1 8 2016
                                                                                                                                    CLEf;:K. l,..S Dis~~~u:n
                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                               SOUTHER~ D:S-'~ICT"'"
                                                                                                                               BY              ~
                                                                                                                                                           ..
                                                                                                                                                        _ L'FORNIA
                                                                                                                                                                ~ DEPUiY




                     UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                         v.                                        (For Offenses Committed On or After November I, 1987)

                            ISRAEL ACOSTA [8]                                      Case Number: 14CR0657-BTM
                                                                                    HOLLY HANOVER
                                                                                   Defendant's Attorney
     REGISTRATION NO. 46713298
     181 Correction o[Sentence for Clerical Mistake (Fed. R. Crim. P.36)
     THE DEFENDANT:
     181 pleaded guilty to count(s) _I_O_F_T_H_E_IN_D_I..:C_T_M_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     0 was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 846, 84I(a)(I)                 CONSPIRACY TO POSSESS METHAMPHETAMINE AND COCAINE WITH                                                       1
                                      INTENT TO DISTRIBUTE




        The defendant is sentenced as provided in pages 2 through _ _. .:4_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act ofl984.
 o The defendant has been found not guilty on count(s)
                                                            -----------------------------------
 181 Count(s) Remaining counts ofIndictment and Superseding Indictment0  arel8l on motion of
                                                                                     is                   dismissed    the             the United States.
 181 Assessment: $100 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.

  181 Fine waived                                   o    Forfeiture pursuant to order filed
                                                                                                - - - - - - - , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               JULY 29, 2016
                                                                              Date of Imposition of Sentence



                                                                              H~!40s~
                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                              14CR0657-BTM
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AO 2458 (CASD) (Rev. 41l4)   Judgment in a Criminal Case
            Sileet 2 - Imprisonment

                                                                                                  Judgment - Page _....:2=-- of   4
 DEFENDANT: ISRAEL ACOSTA [8]
 CASE NUMBER: 14CR0657-BTM
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau o[Prisons to be imprisoned for a term of
         THIRTY (30) MONTHS.



     o Sentence imposed pursuant to Title 8 USC Section 1326(b).
     [8] The court makes the following recommendations to the Bureau of Prisons:
         That the defendant serve his sentence in Southern California to facilitate family visits.




     o The defendant is remanded to the custody ofthe United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Da.m.      Dp.m.      on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     129 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          129 before 12:00 pm on 09/09/2016 or to this Court by 2:00pm on that same date.
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                                  RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                       to

at                                                     with a certified copy ofthis judgment.


                                                                                                UNITED STATES MARSHAL


                                                                        By ______~~~~~~~~~---------
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                          14CR0657-BTM
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AO 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page ~ of _-,,4,-__
DEFENDANT: ISRAEL ACOSTA [8]
CASE NUMBER: 14CR0657-BTM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000. pursuant to 18 USC sections 3563(a)l7) and 3583(d).
        The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or chamcteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                        14CR0657-BTM
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        AD 2458 (CASD) {Rev. 4114) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                        Judgment Page ----1...- of _ _4,,-_ _
        DEFENDANT: ISRAEL ACOSTA [8]
        CASE NUMBER: 14CR0657-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
!VI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription under Federal Law.
~ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.

D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within         days.
D Complete           hours of community service in a program approved by the probation officer within
D
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
    reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                   14CR0657-BTM
